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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR119
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
LEONEL GARCIA-PADILLA,                            )
MARTIN GONZALEZ-MORENO and                        )
SERGIO DE LA O-CEGUEDA,                           )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion to continue by defendant Leonel
Garcia-Padilla (Garcia-Padilla) (Filing No. 53). Garcia-Padilla seeks a continuance of the
trial of this matter which is scheduled for August 28, 2006. Garcia-Padilla's counsel
represents that counsel for the government has no objection to the motion. Garcia-Padilla's
counsel represents that Garcia-Padilla will submit an affidavit in accordance with paragraph
9 of the progression order whereby Garcia-Padilla consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Upon consideration, the motion will be granted. Trial will be
continued as to all defendants.
       IT IS ORDERED:
       1.     Garcia-Padilla's motion to continue trial (Filing No. 53) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for October 2, 2006,
before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between August 21, 2006 and October 2, 2006, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendant's counsel requires additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 21st day of August, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
